Case 9:16-cv-81871-KAM Document 550-1 Entered on FLSD Docket 10/10/2019 Page 1 of 6




                       EXHIBIT A
Case 9:16-cv-81871-KAM Document 550-1 Entered on FLSD Docket 10/10/2019 Page 2 of 6




                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                             Case No. 16-cv-81871 MARRA/MATTHEWMAN

   LAN LI, an individual; YING TAN, an individual;
   TAO XIONG, an individual; et al.

         Plaintiffs,

   vs.

   JOSEPH WALSH, et al.,
   ____________________________/

         Defendants.

         DECLARATION OF ALAINA FOTIU-WOJTOWICZ, ESQ IN SUPPORT OF THE
                   HERISCHI DEFENDANTS’ MOTION TO COMPEL

             1.        My name is Alaina Fotiu-Wojtowicz, I am a partner at the law firm of

   Brodsky Fotiu-Wojtowicz, PLLC and am a member in good standing of the Florida Bar.

   I represent the Defendants, Ali Herischi and Herischi & Associates, LLC, in the above

   captioned matter and I make this Declaration on personal knowledge.

             2.        The Plaintiffs served their Initial Disclosures on July 31, 2018. Rather

   than identifying categories of documents, the Plaintiffs stated as follows:

                       Pursuant to the Parties’ agreement regarding the discovery
                       plan, which is expressed in the Joint Scheduling Report [DE
                       279], copies of all documents and electronically stored
                       information that Plaintiffs have in their possession, custody,
                       or control and may use to support their claims or defenses
                       will be produced starting as of the date hereof on a rolling
                       basis until complete.

   (Plaintiffs’ Initial Disclosures dated July 31, 2018, attached as Exhibit A.)
Case 9:16-cv-81871-KAM Document 550-1 Entered on FLSD Docket 10/10/2019 Page 3 of 6




          3.     This Plaintiffs’ Initial Disclosure production stands in stark contrast to the

   Herischi Defendants’ Initial Disclosures and production, where each particular category

   of documents was identified by Bates number. (Herischi Defendants’ Initial Disclosures

   dated August 1, 2018, attached as Exhibit B.)

          4.     The Plaintiffs’ documents were produced in three separate batches.

   There is no discernible rhyme or reason to the documents, and no explanation has been

   provided by counsel for the Plaintiffs. All of the documents obtained from the individual

   Plaintiffs appear to be mixed up with the documents that Plaintiffs’ counsel obtained

   from other sources during the course of their investigation or other litigation.

          5.     I have reviewed and categorized the first 1,273 pages of documents. I

   have also scanned through additional portions in the production in an attempt to identify

   any rhyme or reason to the way the documents were produced.                  If there is an

   organizational scheme to the production, I have been unable to discern it.

          6.     In completing my review and categorization of the initial portion of the

   Plaintiffs’ production, I have identified in bold the items that appear to be related to the

   Iranian Plaintiffs’ claims and responsive to the Herischi Defendants’ Request for

   Production.   The summary of my review of the first 1,273 pages of documents is

   included below.

                 a. EB5-Investors1-7 – project construction documents;

                 b. EB5-Investors8 – Notice from the Department of
                    Homeland Security to David Derrico;

                 c. EB5-Investors9-21 – documents related to Juewei Zhou;

                 d. EB5-Investors22       –   document      related   to   Sarah
                    Salehin;

                                                 2
Case 9:16-cv-81871-KAM Document 550-1 Entered on FLSD Docket 10/10/2019 Page 4 of 6




               e. EB5-Investors23-37 – Palms House FAQ marketing
                  documents in Chinese;

               f. EB5-Investors37 – State of Florida UCC Financing
                  Statement Amendment Form;

               g. EB5-Investors38-77 – Sample investor documents;

               h. EB5-Investors78-83 – English language Palm House
                  marketing documents;

               i. EB5-Investors84-89      –       Palm   House       marketing
                  documents in Farsi;

               j. EB5-Investors90 – document related to Sarah Salehin
                  and Sanaz Salehin;

               k. EB5-Investors91     –   document        related    to     Sarah
                  Salehin;

               l.   EB5-Investors92-117   –   Blank      Palm    House      Hotel
                    Documents;

               m. EB5-Investors117-122 – blank Herischi & Associates
                  Engagement Letter;

               n. EB5-Investors123-147    –       Palm   House      Hotel   Loan
                  Documents;

               o. EB5-Investors148-175 – Blank Limited               Partnership
                  Agreement, Palm House Hotel, LLLP;

               p. EB5-Investors176-180 – Palm House Hotel document
                  in Farsi;

               q. EB5-Investors181-266 – Palm House Hotel marketing
                  documents in Chinese;

               r. EB5-Investors267-312 – Blank Palm House Hotel Private
                  Placement Memorandum;

               s. EB5-Investors312-332 – Blank Palm House Hotel Full
                  Signatory Package;


                                              3
Case 9:16-cv-81871-KAM Document 550-1 Entered on FLSD Docket 10/10/2019 Page 5 of 6




                t. EB5-Investors333-342 – Chinese Language              EB-5
                   Foreign Immigration Application Checklist;

                u. EB5-Investors343-352 – Blank EB5 documents;

                v. EB5-Investors353-360 – Blank USREDA/SARC Service
                   Agreement;

                w. EB5-Investors361-374 – E-mails related to Chinese
                   investors;

                x. EB5-Investors375-379 – English language Palm House
                   Hotel marketing documents;

                y. EB5-Investors380-388 – photographs of some kind of
                   meeting or interview not involving the Iranian Plaintiffs;

                z. EB5-Investors389-1159 – documents related to Sun
                   Xiao;

                aa. EB5-Investors1160-1179     –   SARC       Request       for
                    Designation as a Regional Center;

                bb. EB5-Investors1180-1214 – e-mails related to the Chinese
                    investors;

                cc. EB5-Investors1216-1229        –   documents   related   to
                    Shangyun Wang;

                dd. EB5-Investors1252-1260 – e-mails related to Chinese
                    Investors; and

                ee. EB5-Investors1261-1273 – documents related to Ying
                    Tan.

         7.     Within the first 1,273 pages of documents, there are 20 pages of

   documents that appear to relate to the Iranian Plaintiffs. And these 20 pages are buried

   between documents that appear to be entirely unrelated to the claims made against the

   Herischi Defendants.




                                              4
Case 9:16-cv-81871-KAM Document 550-1 Entered on FLSD Docket 10/10/2019 Page 6 of 6
